          Case 23-90786 Document 993 Filed in TXSB on 02/03/25 Page 1 of 1
                                     Electronic Appearance Sheet


Michael Kahn, Gibson, Dunn & Crutcher LLP
Client(s): Alex Fenkell, Jordan Katzman

Brian Lutz, Gibson, Dunn & Crutcher LLP
Client(s): Alex Fenkell, Jordan Katzman

Mikayla Steinert, Pro Se, None, Pro Se
Client(s): Only received half of m treatment plan, but am continuing to pay monthly

seth ottensoser, Morgan & Morgan
Client(s): Consumer Arbitration Claimants

Michael Kahn , Gibson, Dunn & Crutcher
Client(s): Interested Parties Jordan Katzman and Alexander Fenkell




Page 1 of 1
